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                                 UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF OHIO
                                       EASTERN DIVISION

    DIGITAL MEDIA SOLUTIONS, LLC,                       ) CASE NO. 1:19-cv-145
                                                        )
                                Plaintiff,              ) JUDGE DAN AARON POLSTER
                                                        )
                v.                                      ) MAGISTRATE JUDGE
                                                        ) THOMAS M. PARKER
    SOUTH UNIVERSITY OF OHIO,                           )
    LLC, et. al.,                                       )
                                                        )
                                Defendants.             )


        STATEMENT OF FINANCIAL BENEFITS ALLEGEDLY ACHIEVED
                    THROUGH THIS RECEIVERSHIP


            Mark E. Dottore, (the “Receiver”), duly appointed and acting Receiver of the

Receivership Entities, files this statement of benefits allegedly achieved through

this Receivership pursuant to this Court’s Order of May 20, 2019. The Receivership

has accomplished the following:

                        By finishing this semester at Western State Law School, the taxpayers

                         were not obligated to pay for (through dollar amounts or loan

                         forgiveness) for the spring semester tuition on behalf of 423 students.

                         Each student’s tuition is $21,430. Considering the students who

                         dropped or added courses, the total saved is $7,829,035.1


1 The Receiver was informed that the Department of Education did provide loan forgiveness to all
law students for the entire spring semester, 2019. If this is true, then the taxpayers did pay the bill
and the students attended for free. Regardless, a benefit was achieved by virtue of completing the


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                   By transitioning every Clinical Psychology student to a new program,

                    the Receiver (with the assistance of Dr. Robert Barrett,2 President and

                    Chair of Clinical Psychology) prevented the triggering of debt

                    forgiveness for some of Argosy’s most vulnerable students. There were

                    1233 clinical psychology students, at an average cost savings of

                    $10,000 for a part time semester, for a total savings of $12,330,000.

                   By transitioning the Tampa, Florida campus from Argosy University to

                    National Louis University, complete with Teach Out and Transfer

                    Agreements, faculty, and transferred curriculum, the Receiver enabled

                    students to complete their semester, and continue with their education

                    uninterrupted. There were 482 students at Tampa, at an average cost

                    savings of $10,000 for a part time semester, for a total savings of

                    $4,820,000.

                   By continuing the South University of Ohio and South University of

                    Michigan Teach Outs, the receivership prevented the triggering of

                    student debt forgiveness at an average cost savings of one semester for

                    120 students, totaling $1,800,000.




semester. Putting aside the financial component, 3L students were given the opportunity to
graduate and take the bar examination and 1L and 2L students were given the opportunity to earn
full credit for the semester..
2 It is unfair to claim exclusive credit for the transition of many thousands of students to new

university settings and programming. These students were often assisted by their deans and
academic mentors, as well as the Receiver’s activities in providing transcripts, securing student
records, running transfer fairs, and so on. But we make the point that because of the receivership
and its support services, these transitions were facilitated.


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                   AI Las Vegas completed its quarter, thereby avoiding a quarter of

                    student debt forgiveness. The total tuition billed at AI Las Vegas for

                    the winter quarter starting in January was $2,501,681.

                   After the Department of Education advised Argosy that it would no

                    longer receive Title IV Funds, the Receiver exited 27 physical locations

                    within 30 days, a formidable accomplishment. While the landlords at

                    these 27 locations did incur post-receivership rent shortfalls, which is

                    regrettable, the Receiver’s quick exits prevented further rent liabilities

                    from continuing to accrue. It is notable that only a few of these

                    landlords are complaining; the vast majority of the landlords have

                    reclaimed their properties by agreement and have re-leased or are in

                    the process of re-leasing the spaces. Many of the landlords are

                    settling the amount of their claims with the estate. The prompt exits

                    avoided continued rent accrual of approximately $4 million per month.

            As the Court pointed out in its request for this information, these are

amounts “allegedly” saved by implementation of the receivership. The Receiver’s

team has debated the monetary benefits of the receivership many times among

themselves. At the time of the Receiver’s appointment, the schools were on the

verge of a catastrophic collapse. Such a “Corinthian Colleges-type”3 collapse would

have had disastrous effects for the students, who would not have been able to



3Corinthian Colleges announced on April 26, 2015 that they would cease operations at all remaining
US locations the next day. The closure affected more than 16,000 students and employees, and is
broadly cited as an example of what not-to-do in the winding up of a university system.


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readily identify other educational opportunities or transfer their credits to other

schools due to the lack of registrars to certify their transcripts. Such an immediate

and precipitous collapse would have had harmful effects on the schools’ faculty and

staff, who would have been out of work immediately and who would have had no

one to oversee their 401k plan and other employee benefits.

            Such a collapse would have had adverse effects on the creditors, because any

hope of maximizing the value of the assets held by the school entities would have

diminished or disappeared. Finally, the DOE would have received many loan

forgiveness applications, saddling taxpayers with the loss of hundreds of millions of

dollars. As this Court is aware, students may receive complete debt forgiveness of

all of their semesters of course study if they do not transfer their credits because of

the closure. The Department of Education approves any such debt forgiveness

applications.

            The choice at the time the Court contemplated the appointment of a receiver

was relatively simple. The Court could have simply allowed the schools to fail

immediately and allowed the stakeholders to suffer the known harm. Or the Court

could have—and did--appoint a receiver with the hope that the receiver would be

able to provide for a more orderly wind-up, avoiding as much harm to the

stakeholders as possible.

            Because the receivership organized transfer fairs, and paid for the services of

the “white glove team” that answered student questions and aided transfers,

students were more aware of other educational opportunities and more readily




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transitioned to new schools. Student transfers were facilitated by the fact that the

Receiver maintained the schools’ accreditations. The receivership also allowed for

the reconciliation of student accounts, the paying of registrars to certify credits to

new educational institutions, the completion of student semester grades where

possible, and the providing of transcripts, all of which assisted students in

transitioning to new educational institutions. Many faculty members sought and

obtained employment by the colleges and universities that signed teach out and

transfer agreements with the Receiver. The Receiver believes that the number of

debt forgiveness applications made by students to the DOE will be substantially

reduced. These contributions are not quantifiable.

            This Court and its Receiver have assisted thousands of students in carrying

on their educations and their lives. Under the circumstances here, it was a certitude

that students, faculty, taxpayers, vendors and landlords were going to suffer

damage; it is a circular fallacy first to provide our own estimate the harm and then

to try to describe how much the damage was lessened through the intervention of

the auspices of this Court through its Receiver. But the damage was lessened. We

are glad that we have been given the opportunity to serve this Court to achieve that

purpose.




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Dated: May 30, 2019                        Respectfully submitted,

                                           /s/ Mary K. Whitmer
                                           Mary K. Whitmer (0018213)
                                           James W. Ehrman (0011006)
                                           Robert M. Stefancin (0047184)
                                           WHITMER & EHRMAN LLC
                                           2344 Canal Road, Suite 401
                                           Cleveland, Ohio 44113-2535
                                           Telephone: (216) 771-5056
                                           Telecopier: (216) 771-2450
                                           Email: mkw@WEadvocate.net
                                                  jwe@WEadvocate.net
                                                  rms@WEadvocate.net

                                           Counsel for Mark E. Dottore, Receiver




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